 1 Martha G. Bronitsky
     Chapter 13 Standing Trustee
 2 Po Box 5004
     Hayward,CA 94540
 3
     (510) 266- 5580
 4
     Trustee for Debtor(s)
 5
                                  UNITED STATES BANKRUPTCY COURT
 6                                NORTHERN DISTRICT OF CALIFORNIA
 7
   In Re
        Antonio P Aranzamendez                            Chapter 13 Case Number:
 8
               Flordeliza M Aranzamendez                  16-40951-CN 13
 9
                                          Debtor(s)
10 MOTION TO DISMISS OR CONVERT CHAPTER 13 CASE FOR FAILURE TO MAKE
                                                PLAN PAYMENTS
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     TO THE DEBTOR(S) AND DEBTOR(S)' ATTORNEY:
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     Martha G Bronitsky, Chapter 13 Standing Trustee, requests an Order Dismissing or Converting this case
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     pursuant to 11 U.S.C. Section 1307(c) upon the grounds that the debtor(s) is in material default for the
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     following reasons:
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     1. YOU ARE IN DEFAULT UNDER YOUR CHAPTER 13 PLAN.
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         As of June 08, 2018 you should have paid a total of $22,264.00 to the Chapter 13 Trustee. According
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     to the Trustee’s records, you are in default in the amount of $2,064.00. The default amount includes the
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     current's month payment. The default amount does not include any payments which have been suspended.
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     Suspended payments may not bind creditors. Payments must be current until this motion is resolved.
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     2. In order to continue to receive protection of the United States Bankruptcy Court :
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         a. YOU MUST bring the case current by paying in certified funds to the Trustee in the amount of
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     $2,064.00 within 21 days of the date of this notice; OR
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         b. YOU MUST meet and confer with the Trustee by contacting the Client Services Department AND
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     sign a Stipulation (agreement) describing how you will cure default in a manner which is acceptable to the
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     Trustee. Such meeting shall be held at the office of the Trustee, at the address listed above, and shall be by
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 1 appointment only; OR

 2      c. YOU MUST contact your attorney immediately. Your attorney may apply to modify the plan or

 3 advise you of any other legal options. This must be done within 21 days of this notice.

 4 3. Unless you pay the default amount, stipulate to cure the default or file an Application to Modify plan, as

 5 provided in paragraph 2 above, twenty-one (21) days from the date of this notice, YOUR CASE SHALL

 6 BE IMMEDIATELY DISMISSED OR CONVERTED WITHOUT ANY FURTHER NOTICE OR

 7 HEARING.

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     Dated: June 08, 2018                             /s/ Martha G. Bronitsky
 9                                                    Signature of Martha G. Bronitsky
                                                      Chapter 13 Standing Trustee
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 1    In re                                     Chapter 13 Case No. 16-40951-CN
              Antonio P Aranzamendez            13
 2            Flordeliza M Aranzamendez
                                 debtor(s)
 3
                                    CERTIFICATE OF SERVICE
 4
      I HEREBY CERTIFY that I have served a copy of the within and foregoing document on the
 5    debtor (s), counsel for debtor (s), and if applicable, the creditor, creditor representatives and
      the registered agent for the creditor by depositing it in the United States mail with first class
 6    postage attached thereto.
 7

 8                                                      Nathan D Borris Atty
                                                        1380 A Street
 9    Antonio P Aranzamendez                            Hayward,CA 94541
      Flordeliza M Aranzamendez
10    101 Tierney Place                                 (Counsel for Debtor)
      Martinez,CA 94553
11
      (Debtor(s))
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14    I delcare under penalty of perjury under the law of the State of California that the foregoing is
      true and correct.
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17    Date: June 08, 2018                             /s/ OLGA GONZALEZ
                                                      OLGA GONZALEZ
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